Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 1 of
                                     16




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

            Plaintiff,

  v.

  MICHAEL J. LINDELL, FRANKSPEECH, LLC, and
  MYPILLOW, INC.,

            Defendants.



             AMENDED REPLY OF DEFENDANTS LINDELL, FRANKSPEECH,
                 LLC, MY PILLOW, INC. TO PLAINTIFF’S OMNIBUS
                  RESPONSE TO DEFENDANTS’ OMNIBUS MOTION
                   FOR SUMMARYJUDGMENT AND IN SUPPORT
                  OF THEIR MOTION FOR SUMMARY JUDGMENT


            Defendants submit this Amended Reply to Plaintiff’s Omnibus Response to

  Defendants’ Omnibus Motion for Summary Judgment [ECF 235] (“Plaintiff’s

  Response”) and in support of Defendants’ Omnibus Motion for Summary

  Judgment [ECF 177] (“Defendants’ Motion”).

       I.            REPLY CONCERNING UNDISPUTED FACTS

            Defendants state that the following paragraphs in Defendants’ Motion are

  undisputed except are noted by Plaintiff in his Response: 1-6, 8-10, 11-30, 34, 36-

  37, 39, 41, 43, 45-49, 52.

                                              1
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 2 of
                                     16




       Defendants state that the facts described in the following paragraphs in

  Plaintiff’s Additional Facts are undisputed: 21-25, 27-31, 35, 38-43, 45, 47, 52, 54,

  and 56-61.

     II.           REPLY CONCERNING DISPUTED FACTS

           Defendants acknowledge that Plaintiff disputes the facts asserted in

  paragraphs 3-14 of Defendants’ Motion.

           Defendants state that the following Additional Facts listed in paragraphs of

  Plaintiff’s Response are disputed:

  20. There were no lies by Defendants. The vague reference to “negative pushback”

  is disputed.

  26. Defendants dispute that such claims were “unequivocally false.”

  32. Dispute that Montgomery has a history of fraud and move to strike all

  references to newspaper articles.

  33. Defendants dispute the statements and maintain that the facts alleged are

  immaterial to the issues to be resolved about Plaintiff’s role in designing software.

  34. Defendants dispute the generalized characterizations and materiality.

  35. Defendants dispute the characterizations. The exhibits speak for themselves.

  36. Defendants dispute all characterizations and the allegation concerning Hayes

  and Wood, as well as the materiality of the paragraph

  37. Defendants dispute the paragraph because it does not identify publications.


                                              2
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 3 of
                                     16




  44. Defendants dispute the generalizations and conclusory statements, They

  cannot respond to alleged claims that are not identified.

  46. Defendants dispute that Lindell’s allegations about Dominion’s manipulation

  of votes had not been expressed before his deposition.

  48. Defendants dispute that they have no corroborating evidence of Plaintiff’s role

  in designing the Dominion system to manipulate votes.

  48. Defendants dispute the statements because they cannot respond without

  identification of the statements referenced.

  49. Defendants deny that they relied on Oltmann’s unspecified allegations against

  Plaintiff.

  50. MyPillow employees did not append weeks preparing for the Symposium and

  a MyPillow email address does not establish employment status.

  51. The individual identified was not acting as a MyPillow employee.

  53. Lindell did not promote the Symposium to MyPillow employees.

  55. The individual identified was not acting as a MyPillow employee.

  62. MyPillow has never been a vehicle to advance Lindell’s political beliefs.

  63. Promo codes are not an endorsement of a forum’s content or purpose.

  65. MyPillow does not mix election fraud concerns with its sales pitches. Lindell

  did not make the referenced statements as director or under the control of

  MyPillow. MyPillow has not ratified the statements attributed to Lindell.


                                            3
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 4 of
                                     16




                      III.     ARGUMENT

         Defendants are entitled to summary judgment in their favor on all counts

  because Plaintiff cannot prove with clear and convincing evidence that Defendants’

  statements at issue are false or that such statements were made with actual malice.

  Except for facts bearing on the truth or falsehood of Defendants’ challenged

  statements and any actual malice of Defendants in making those statements, the

  disputed facts are immaterial to the issue posed by this Court as the central issue in

  this litigation.

                 A.       Plaintiff Cannot Satisfy His Burden of Proof
                        That Defendants’ Statements Are False.

         This Court has concluded that the issue to be resolved in this case is whether

  “Dr. Coomer’s actions with regard to the Dominion voting machines either

  interfered in the 2020 presidential election or they did not.” 2023 WL 2528624, *8

  (March 15, 2023). Plaintiff acknowledges (Response at 23) that he has the burden

  of proving that Defendants’ statements are false by clear and convincing evidence.

  He cannot do so without demonstrating how Dominion’s computerized voting

  system actually functioned in the 2020 election. If the software installed by

  Dominion for use in that election allowed for the manipulation of cast votes, its

  designer is criminally responsible. 18 U.S.C. § 241.

         The issue to be resolved in this litigation is whether “Dr. Coomer’s actions

  with regard to the Dominion voting machines either interfered in the 2020
                                            4
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 5 of
                                     16




  presidential election or they did not.” 2023 WL 2528624, *8 (March 15, 2023).

  Plaintiff cannot clearly and convincingly prove that the Dominion computerized

  voting system, which he had a role in designing,1 did not allow for the

  manipulation of cast votes in the 2020 presidential election without evidence of

  how the system functioned during the 2020 election.

           Plaintiff relies on a single expert, Dr. Halderman, whose declaration

  submitted in this litigation (Ex. 12) is referenced in paragraphs 34 and 78 of the

  Response as evidence that Defendants’ statements are “provably false.” Only an

  examination of the Dominion computerized system used in the 2020 election can

  establish whether that system was rigged to alter the outcome. Dr. Halderman’s

  most recent declaration asserts that Defendants’ claim that Coomer had a role in

  rigging the 2020 election is “implausible” and “inherently improbable.” Ex. 12 at

  ¶¶ 16. He contends that Defendants have not proven that their statements were true,

  but that burden is imposed on Plaintiff and not Defendants.

           In addition, Dr. Halderman’s present position conflicts with the statement

  that he made in the Curling litigation and on which the district court in that case

  relied in its October 11, 2020,` decision. Curling v. Raffensperger, 493 F.Supp.3d

  1264, 1278-79, 1285-86 (N.D.Ga. 2020), prelim. injunction vac., appeal dismissed




  1
      Doc. 178 at 32, ll. 1-8, 24-25 (Coomer deposition).
                                              5
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 6 of
                                     16




  in part, 50 F.4th 1114 (11th Cir. 2022). Defendants quoted from Dr. Halderman’s

  2020 statement at page 44 of their Motion that

        malicious modifications to [Dominion’s] software could undermine the
        integrity of election results in multiple ways, including by changing either
        the barcodes alone or both the barcodes and the human readable text, with
        the result that the election outcomes could be changed without
        detection.

  Defendants’ Ex. 20, ¶ 7 (emphasis added). Dr. Halderman was offered as an expert

  for the Curling plaintiffs seeking to ban Georgia’s use of Dominion’s voting

  machines in the 2020 election. In contrast, Dr. Coomer testified as an expert in

  Curling on behalf of the State defendants. Their respective expert opinions differed

  sharply.

        The Curling court credited the testimony of plaintiffs’ experts, including Dr.

  Halderman (493 F.Supp.3d at 1279,1289, 1291-92, 1299, 1301, 1320-21), and

  rejected Dr. Coomer’s testimony and that of defendants’ other experts. Id., at 1286-

  87, 1301, 1303-04, 1332-33. As the Curling court concluded: “The Plaintiffs’

  national cybersecurity experts convincingly present evidence that this is not a

  question of ‘might this actually ever happen?’—but ‘when it will happen,’

  especially if further protective measures are not taken.” Id., at 1342.

        Plaintiff acknowledges (Plaintiff’s Response at 23) that he has the burden of

  proving that Defendants’ statements are false by clear and convincing evidence. He

  cannot do so without demonstrating how Dominion’s computerized voting system


                                             6
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 7 of
                                     16




  actually functioned in the 2020 election. Plaintiff has not and cannot demonstrate

  how that system was designed or how it functioned without offering a

  demonstration of the system’s software content and operation during the 2020

  election because that software has been erased.

        Dominion has prevented public scrutiny of, and full and unrestricted access

  by experts to, its computerized voting system. 493 F.Supp.3d at 1278-79, 1285-86.

  The Curling court observed: “The insularity of the Defendants’ and Dominion’s

  stance here in evaluation and management of the security and vulnerability of

  [Dominion’s ballot marking device] BMD system does not benefit the public or

  citizens’ confident exercise of the franchise.” Id., at 1341. If Dominion had

  permitted independent experts to have generally unrestricted access to its

  computerized system after the 2020 presidential election, much of the litigation

  that has been filed claiming election irregularities could have been avoided.

  Regardless of the justification, if any, for Dominion’s decision not to provide

  experts or the public access to its computerized voting system.

        Plaintiff cannot prove that Defendants’ statements were false by pointing to

  evidence in his Response other than a full exposition of the Dominion voting

  system as it was used in the 2020 election. His self-serving declaration cannot

  prove that Defendants’ statements were false. A failure at the August 2021

  Symposium to establish that China interfered with the outcome of the 2020


                                            7
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 8 of
                                     16




  election (Plaintiff’s Response at 11) would not show whether Dominion’s

  computerized voting system did or did not play a part in manipulating the outcome

  of the voting in that election. Any statements by individuals who were scheduled to

  make a presentation at the Symposium “that the information they intended to

  present at the Symposium was fraudulent” (Plaintiff’s Response at 11) has nothing

  to do with whether Plaintiff can prove that the Dominion computerized voting

  system was not designed to manipulate cast votes in the 2020 election. And

  settlements of other litigation cannot be invoked to prove that the Dominion

  system played no role in altering the outcome of the 2020 election. F.R.Evid. 408;

  CRE 408; see Southwest Nurseries, LLC v. Florists Mut. Ins., Inc., 266 F.Supp.2d

  1253, 1258-59 (D.Colo. 2003); Hartman v. Community Responsibility Ctr., Inc., 87

  P.3d 202, 206 (Colo. App. 2003).

               B. Plaintiff Cannot Satisfy His Burden of Proof That
                  Defendants Made Their Statements with Actual Malice.

        Regardless of whether the statements are true or false, Defendants were

  entitled to rely at the time those statements were made on Dr. Halderman’s

  declaration and the conclusions of the district court in Curling in its October 11,

  2020, decision related to whether Dominion’s computerized voting system could

  be used in the 2020 election. As the Curling court concluded: “The Plaintiffs’

  national cybersecurity experts convincingly present evidence that this is not a



                                            8
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 9 of
                                     16




  question of ‘might this actually ever happen?’—but ‘when it will happen,’

  especially if further protective measures are not taken.” Id., at 1342.

        Defendants did not act with actual malice because they knew that the

  Curling court had stated that national cybersecurity experts had concluded that

  interference in the outcome of an election as a result of the design of the Dominion

  computerized voting system was certain to occur at some point. 493 F.Supp.3d at

  1342. Based on such information, the statements made by Defnedants could not be

  considered reckless or inherently improbable.

        The vulnerabilities of the Dominion computerized voting system, as the

  Curling opinion demonstrated, posed a significant concern about election integrity

  at the time the challenged statements were made that negates the conclusion that

  these Defendants knew that their statements were false or made the statements with

  reckless disregard of whether the statements were true or false.

        C. Plaintiff Cannot Establish That MyPillow Is Liable for
           Defamation under the Law of Agency or Respondeat Superior.

        1. No Speaker Acted with Actual or Apparent Authority.

        Plaintiff cannot meet its burden to establish that any speaker acted as an

  actual or an apparent agent of MyPillow. See Bowden v. Mattaway, No.

  21CV30007, 2021 Colo. Dist. LEXIS 1217, *2 (Dist. Ct. Colo. Nov. 15, 2021)

  (citing Restatement (Third) of Agency, § 1.02 cmt. d) (“The party asserting the

  existence of an agency relationship has the burden of establishing its existence.”).
                                             9
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 10 of
                                     16




   To establish agency based on actual authority, Plaintiff must prove that “‘at the

   time of taking action that ha[d] legal consequences for the principal, the agent

   reasonably believe[d], in accordance with the principal's manifestations to the

   agent, that the principal wishe[d] the agent so to act.’” Restatement (Third), § 2.01.

   State Farm Mut. Auto. Ins. Co. v. Johnson, 396 P.3d 651, 656 (Colo. 2017)

   (quoting Restatement (Third) Agency, § 2.01 (2006)); see also Restatement (Third)

   Agency § 1.01 (2006) (“Agency is the fiduciary relationship that arises when one

   person (a ‘principal’) manifests assent to another person (an ‘agent’) that the agent

   shall act on the principal’s behalf and subject to the principal’s control, and the

   agent manifests assent or otherwise consents to so act.”) (emphasis added).

         Plaintiff can point to no record evidence demonstrating that MyPillow

   manifested assent to Oltmann or Clements that they should speak on MyPillow’s

   behalf and subject to its control. The same is true with respect to Lindell. Plaintiff

   argues that Lindell had actual authority because he is the “majority shareholder

   with ultimate power” and “has absolute discretion to act on MyPillow’s behalf in

   any way that he sees fit, and no one is authorized to control his statements or

   conduct.” Pl. Mem. at 37. But that is not relevant to whether MyPillow as a

   corporation manifested assent to Lindell that he should speak on MyPillow’s behalf

   with respect to election-related issues. By appointing Lindell as MyPillow’s CEO,

   MyPillow’s Board of Directors authorized Lindell to conduct the business of the


                                             10
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 11 of
                                     16




   Company. But nothing in the record suggests that MyPillow’s Board of Directors

   ever authorized Lindell to make statements on behalf of the company concerning

   topics that have nothing to do with MyPillow’s business of manufacturing and

   selling pillows and bedding products.

         Plaintiff also points out that MyPillow board members have implored

   Lindell to stop engaging in his personal, election-related activities, but that he has

   not done so. Id. at 38 and n. 151. These facts cut against Plaintiff’s position: They

   show (i) that MyPillow’s board did not manifest assent to Lindell that he should

   make election-related statements on behalf of the Company, and (ii) that Lindell’s

   statements were not made subject to the control of MyPillow’s board. Accordingly,

   based on the record evidence, Plaintiff cannot meet its burden of establishing

   agency through actual authority.

         Plaintiff also argues that Lindell had apparent authority to make the

   statements at issue on behalf of MyPillow. Pl. Mem. at 39. Plaintiff’s argument

   fails because no record evidence shows that Lindell ever claimed to act on behalf

   of MyPillow when making statements about Coomer or election interference.

         To establish apparent authority, Plaintiff must provide “proof of ‘written or

   spoken words or other conduct of the principal which, reasonably interpreted,

   causes a person to believe that the principal consents to have the act done on his

   behalf by a person purporting to act for him.’” Villalpando v. Denver Health &


                                             11
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 12 of
                                     16




   Hosp. Auth., 181 P.3d 357, 363 (Colo. App. 2007) (quoting Lucero v. Goldberger,

   804 P.2d 206, 209 (Colo. App. 1990)) (emphasis added). No record evidence

   suggests that Lindell, in making the statements at issue, purported to act for

   MyPillow. The same is true for Oltmann and Clements. Consequently, Plaintiff

   cannot establish agency based on apparent authority.

            Indeed, the doctrine of apparent authority is simply not applicable here. The

   doctrine of apparent authority “protects third parties who, in good faith, rely on

   their belief that an agency relationship exists between the apparent principal and

   agent.” Villalpando, 181 P.3d at 363 (citing Rush Creek Solutions, Inc. v. Ute

   Mountain Ute Tribe, 107 P.3d 402, 407 (Colo. App. 2004)). This is not such a

   case. Here, Coomer did not rely on a belief that Lindell was acting as MyPillow’s

   agent.

            2.   The Doctrine of Respondeat Superior Is Inapplicable.

            Plaintiff further contends that MyPillow is liable for Lindell’s alleged

   defamation under the doctrine of respondeat superior. Pl. Mem. at 39-40. Plaintiff’s

   argument is unavailing, because Lindell was not acting within the scope of

   employment when making the statements at issue.

            According to the Restatement (Third) of Agency, “[m]ost often the doctrine

   [of respondeat superior] applies to acts that . . . are the consequence of

   inattentiveness or poor judgment on the part of an employee acting within the job


                                               12
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 13 of
                                     16




   description.” Restatement (Third) Of Agency § 2.04 cmt. b (2006). In contrast to

   other doctrines within the law of agency, “[m]ost cases applying [respondeat

   superior] involve negligence resulting in physical injury to a person or to

   property.” Id. The instant matter is not such a case, and thus Plaintiff’s attempt to

   apply the doctrine here should be viewed with skepticism.

         When the doctrine does apply, an employer may be held liable only for those

   torts of an employee that were committed while the employee was acting within

   the scope of employment. See, e.g., Stokes v. Denver Newspaper Agency, LLP, 159

   P.3d 691, 693 (Colo. App. 2006). The Restatement (Third) of Agency defines the

   scope of employment as follows:

         An employee acts within the scope of employment when performing
         work assigned by the employer or engaging in a course of conduct
         subject to the employer's control. An employee's act is not within the
         scope of employment when it occurs within an independent course of
         conduct not intended by the employee to serve any purpose of the
         employer.

   Restatement (Third) Of Agency § 7.07(2) (2006). The commentary to the

   Restatement clarifies that “[i]f an employee's tortious conduct is unrelated either to

   work assigned by the employer or to a course of conduct that is subject to the

   employer's control, the conduct is outside the scope of employment.” Id., § 7.07

   cmt. b.

         In the instant matter, there is no dispute that Lindell was not performing

   work assigned by MyPillow when he made the statements at issue. No record
                                             13
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 14 of
                                     16




   evidence supports the proposition MyPillow assigned Lindell any work related to

   the topic of election interference—something that is wholly unrelated to the

   Company’s business of manufacturing and selling pillows and bedding products.

   Moreover, the undisputed facts show that when Lindell made statements about

   election interference and Coomer, Lindell was engaging in a course of conduct that

   was not subject to MyPillow’s control. As Plaintiff himself points out, MyPillow

   board members were not able to control Lindell’s personal election-related

   activities: believing Lindell’s personal election-related activities were hurting

   MyPillow, board members implored Lindell to stop, but he did not. Pl. Mem. at 38

   and n. 151. MyPillow has no control over Lindell’s personal and political opinions

   and activities.

         Because Lindell’s statements about Coomer and election interference were

   not made when performing work assigned by MyPillow or engaging in a course of

   conduct subject to MyPillow’s control, Lindell’s alleged torts were not committed

   within the scope of employment. See Restatement (Third) Of Agency § 7.07(2).

   Consequently, MyPillow cannot be held liable under the doctrine of respondeat

   superior.

                                           * * *

         Based on the evidence in the record, Plaintiff cannot meet its burden to

   prove the existence of an actual or apparent agency relationship between MyPillow


                                             14
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 15 of
                                     16




   and Lindell, Oltmann, or Clements, and Plaintiff cannot establish that Lindell was

   acting in the scope of his employment when he made the statements at issue

   concerning his personal and political opinions. Accordingly, MyPillow cannot be

   held liable for defamation, and Plaintiff’s claims against MyPillow should be

   dismissed.

         3.     Summary Judgment Should Be Entered Against Plaintiff
                  on His Claims of Intentional Infliction of Emotional
                          Harm and Civil Conspiracy.

         Plaintiff’s defamation claim and his claims of intentional infliction of

   emotional harm and civil conspiracy are based on identical facts. Plaintiff’s

   Response at 47. Because Plaintiff cannot meet his burden of proof on those claims

   for the same reasons that he cannot prove his defamation claim, summary

   judgment is warranted against Plaintiff on the remaining two counts on the basis of

   Defendants’ arguments regarding Plaintiff’s defamation claim..

                                   CONCLUSION

         Defendants request that the Court enter an Order granting their Motion for

   Summary Judgment and dismissing each of Plaintiff’s causes of action.

                                                       MICHAEL J. LINDELL
                                                       FRANKSPEECH, LLC
                                                       MYPILLOW, INC.




                                            15
Case No. 1:22-cv-01129-NYW-SBP Document 248 filed 01/22/24 USDC Colorado pg 16 of
                                     16




         By:-
                                          /s/ Robert J. Cynkar
                                          Patrick M.McSweeney
                                          Robert J. Cynkar
                                          Christopher I. Kachouroff
                                          Lyndsey L. Bisch
                                          McSweeney, Cynkar & Kachouroff, PLLC
                                          10506 Milkweed Drive
                                          Great Falls, Virginia 22066
                                          (703) 621-3300
                                          rcynkar@mck-lawyers.com

                                          Deborah B. McIlhenny
                                          Robinson Law Fir, LLC
                                          218 Mosley St.
                                          Wichita, KS 67202
                                          (316) 308-4759
                                          dmcilhenny@robinsonlawfirmks.com

                             CERTIFICATE OF SERVICE

         I hereby certify that on January 22, 2024 I electronically filed the foregoing

   with the Clerk of the Court using the CM/ECF system which will send notification

   of such filing to the following email addresses:

     zbowman@cstrial.com

     ccain@cstrial.com

     bkloewer@cstrial.com
     djennings@cstrial.com
     skarnulis@cstrial.com

                                          /s/ Robert J. Cynkar




                                            16
